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 4
     Attorney for Defendant SAM KOUNHAVONG
 5

 6                      IN THE UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )      Case No. 12:00342 AWI
 9                                         )
           Plaintiff,                      )
10                                         )      ORDER TO SET CHANGE OF
                                           )      PLEA HEARING
11         v.                              )
                                           )      New date: 3/24/2014 at 10:00 am
12   SAM KOUNHAVONG,                       )
                                           )
13         Defendant.                      )
14         Based on the stipulation between counsel, it is hereby ordered as follows:
15
           That the previously set status conference date of March 24, 2014 at 1:00 p.m.
16
     before the Honorable Barbara McAuliffe, Magistrate Judge of the Eastern District,
17

18   be vacated and that the matter be set for a change of plea on March 24, 2014 at
19
     10:00 a.m. before the Honorable Anthony W. Ishii, Judge of the Eastern District.
20
           There will be no delay from changing this time from March 24, 2014 at 1:00
21

22   p.m. to March 24, 2014 at 10:00 a.m., as defendant has already waived time under
23
     the Speedy Trial Act until March 24, 2014.
24

25

26   IT IS SO ORDERED.

27   Dated: March 13, 2014
                                          SENIOR DISTRICT JUDGE
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     Case 1:12-cr-00342-DAD-BAM Document 107 Filed 03/14/14 Page 2 of 2


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